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                                 EXHIBIT “A”
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK

                               Case No. 1:22-cv-01270-LEK-ATB

 PREPARED FOOD PHOTOS, INC. f/k/a
 ADLIFE MARKETING &
 COMMUNICATIONS CO., INC.,

        Plaintiff,

 v.

 WADAYANEED, LLC d/b/a
 WHATDOYOUNEED.COM

        Defendant.


                          DECLARATION OF DANIEL DESOUZA

       Daniel DeSouza does hereby declare pursuant to 28 U.S.C. § 1746:

       1.      I submit this declaration in support of plaintiff Prepared Food Photos, Inc. f/k/a

Adlife Marketing & Communications Co., Inc.’s (“Plaintiff”) Motion for Prevailing Party’s

Attorneys’ Fees. This declaration and the facts stated herein are based upon my personal

knowledge.

       2.      I am counsel for the Plaintiff in this action. I supervised the other attorney, Christine

Zaffarano, and the paralegal, Denise Sosa, working on this matter.

       3.      I have been a member in good standing of the New York Bar since 2005 and the

Florida Bar since 2006. I am one of two principal shareholders of the law firm CopyCat Legal

PLLC (“CopyCat Legal”), which has provided legal services to Plaintiff in this action throughout

the pendency of this action.

       4.      I am a 2004 graduate of the George Washington University Law School and am

admitted to the Florida Bar, the New York Bar, and the District of Columbia Bar. I am likewise


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admitted to several federal courts throughout the country, including: (a) the United States Court of

Appeals for the Eleventh Circuit; (b) the United States Court of Appeals for the Eighth Circuit; (c)

the United States Court of Appeals for the Tenth Circuit; (d) the United States District Court for

the Southern District of Florida; (e) the United States District Court for the Middle District of

Florida; (f) the United States District Court for the Northern District of Florida; (g) the United

States District Court for the Southern District of Texas; (h) the United States District Court for the

Eastern District of Texas; (i) the United States District Court for the Southern District of New

York; (j) the United States District Court for the Eastern District of New York; (k) the United

States District Court for the Northern District of New York; (l) the United States District Court for

the Western District of Arkansas; (m) the United States District Court for the District of Nebraska;

(n) the United States District Court for the District of New Mexico; (o) the United States District

Court for the District of Colorado; (p) the United States District Court for the Eastern District of

Michigan; (q) the United States District Court for the Western District of Michigan; (r) the United

States District Court for the Northern District of Illinois; (s) the United States District Court for

the District of Maryland; (t) the United States District Court for the Western District of Texas; (u)

the United States District Court for the Eastern District of Missouri; (v) the United States District

Court for the District of Columbia; and (w) the United States District Court for the Western District

of Pennsylvania. I previously worked at Milbank, Tweed, Hadley & McCloy LLP (from 2004 –

2010) and Becker & Poliakoff, PA (from 2010 – 2014) before forming DeSouza Law, P.A. in 2014

and CopyCat Legal in 2019.

       5.      Since 2004, my practice has principally focused on business/complex commercial

and intellectual property litigation. During that time, I have served as counsel of record in dozens

of copyright infringement, trade secret, and trademark infringement lawsuits. In total, I have



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served as counsel of record in approximately 400 federal civil and/or bankruptcy actions and 250+

state court lawsuits in Florida/New York.

       6.      In addition to myself, an associate (Christine Zaffarano) also billed time on this

matter. She is a 2014 Dean’s List graduate of St. John’s University School of Law. She attended

on a full academic scholarship and served on Law Review. She was admitted to the New York Bar

in 2015 and the Florida Bar in 2022. Christine is also admitted to the United States District Court

for the Middle District of Florida, the United States District Court for the Southern District of

Florida, the United States District Court for the Eastern District of New York, the United States

District Court for the Northern District of New York, the United States District Court for the

Southern District of New York, and the United States District Court for the Northern District of

Illinois. She has practiced in civil courts for over eight years, including on behalf of the City of

New York and the State of Florida.

       7.      A paralegal (Denise Sosa) also billed time on this matter. Denise Sosa has been a

paralegal since 1995 and has worked at various law firms, working on matters that include

commercial litigation, criminal defense, admiralty, and class action products liability litigation,

while her primary focus and experience is in commercial litigation. She has over 20 years of

experience in preparing for and attending hearings, arbitrations, and trials (both for federal and

state court). She is bilingual, speaking both English and Spanish fluently.

       8.      The purpose of this declaration is to memorialize the fees for legal services, costs,

and expenses provided by CopyCat Legal in the above-captioned case through the present date.

       9.      CopyCat Legal establishes standard hourly rates for services provided by its

attorneys. These rates are within the range charged by other lawyers in South Florida and are fair

and reasonable rates for this type of work.



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       10.     I am familiar with the services provided to Plaintiff in this action and the rates

charged for such work.

       11.     The attorneys and paralegals at CopyCat Legal record the time spent on matters

contemporaneously on electronic billing software/time sheets. Each time entry includes the date

the work is performed, the client and matter numbers, the time spent, and a brief description of the

nature of the work performed.

       12.     Through the present date, I expended 5.0 hours of attorney time in prosecuting this

matter on Plaintiff’s behalf, an associate attorney (Christine Zaffarano) expended 0.40 hours of

attorney time in prosecuting this matter on Plaintiff’s behalf, and a paralegal (Denise Sosa)

expended 1.30 hours of time in prosecuting this matter on Plaintiff’s behalf. This includes the time

spent to investigate the alleged infringement and drafting an initial notice letter to WaDaYaNeed,

LLC d/b/a Whatdoyouneed.com (“Defendant”), drafting the Complaint in this matter, attempting

to contact the Defendant via e-mail, mail, and telephone, attempting service, drafting the Motion

for Clerk’s Default, drafting the Motion for Entry of Default Judgment and drafting the

exhibits/supporting declarations for such motion, and drafting the Motion for Prevailing Party’s

Attorneys’ Fees. All of these time entries amount to a total of $1,897.50 and are reflected in

CopyCat Legal’s billing records that are being provided in connection herewith as Exhibit “1.”

       13.     My billable rate for copyright/intellectual property matters at CopyCat Legal is

$450.00 per hour, and the rate for paralegals is $125.00 per hour. However, given that courts in

this district typically find $250 - $350/hour to be reasonable for experienced counsel, for purposes

of this case I will voluntarily reduce my rate to $325 per hour. See Adlife Mktg. & Communs. Co.

v. Buckingham Bros., LLC, No. 5:19-CV-0796 (LEK/CFH), 2020 U.S. Dist. LEXIS 148755

(N.D.N.Y. Aug. 18, 2020) (quoting Golub Corp. v KLT Indus., Inc., No. 18-CV-1125, 2020 U.S.



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Dist. LEXIS 105469, 2020 WL 3254133, at *4 (N.D.N.Y. June 16, 2020)) (internal citations

omitted) (“According to the ‘forum rule,’ courts should employ 'the hourly rates . . . in the district

in which the reviewing court sits in calculating the presumptively reasonable fee.”); See Sadowski

v. Roser Communications Network, Inc., No. 19-CV-592, 2020 U.S. Dist. LEXIS 10266, 2020

WL 360815, at *4 (N.D.N.Y. Jan. 22, 2020) (“Courts in this district have recently determined

hourly rates between $250 and $350 for partners.”); Broadcast Music, Inc. v DeJohn's on Lark,

Inc., No. 19-CV 637, 2020 U.S. Dist. LEXIS 73262, 2020 WL 1986903, at *7 (N.D.N.Y. Apr. 27,

2020) (“hourly rates have ranged from $250 to $325 for partners of a firm”); Seidenfuss v.

Diversified Adj. Services, Inc., No. 15-CV-1210, 2016 U.S. Dist. LEXIS 33559, 2016 WL

1047383, at *2 (N.D.N.Y. Mar. 15, 2016) (“Courts in this District consistently deem $300 to be

an reasonable hourly rate for an experienced partner.”); Pope v. County of Albany, No. 11-CV-

736, 2015 U.S. Dist. LEXIS 123379, 2015 WL 5510944, at *10-11 (N.D.N.Y. Sept. 16, 2015)

(finding $350 per hour for experienced counsel to be reasonable); Bosket v. NCO Fin. Sys., No.

3:11-CV-00678 (LEK/DEP), 2012 U.S. Dist. LEXIS 132239, at *9 (N.D.N.Y. Sep. 17, 2012)

(concluding that $335 per hour requested for the partners was reasonable).

       14.     Further, the hourly rates for both myself, associates, and for CopyCat Legal’s

paralegals have previously been found to be reasonable by multiple federal courts. See, e.g.,

Patriot Fine Foods, at pp. 11 – 12 (“In light of counsel’s experience (see id. ¶¶ 2–5), and the

prevailing market rates, and Defendant’s failure to oppose the reasonableness of the rate, I find

that the proposed hourly rate of $450 is reasonable based upon the facts and circumstances of this

case, including Defendant’s default.”); Afford. Aerial Photography, Inc. v. Elegance Transp., Inc.,

No. 6:21-cv-1166-CEM-LHP, 2022 U.S. Dist. LEXIS 32586, at *29 (M.D. Fla. Feb. 23, 2022)

(finding undersigned counsel’s $450.00 hourly rate and CopyCat Legal’s paralegal’s $125.00



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hourly rate to be reasonable in copyright infringement case); Temurian v. Piccolo, No. 18-CV-

62737-SMITH/VALLE, 2021 U.S. Dist. LEXIS 63144, at *6 (S.D. Fla. Mar. 30, 2021) (in

commercial litigation case, finding undersigned counsel’s $400.00 hourly rate reasonable for work

performed from 2018 – 2020).

       15.     I am familiar with the lodestar method of determining the reasonableness of

attorneys’ fees. The above-described fees are reasonable for the services provided to Plaintiff.

       16.     In addition, CopyCat Legal incurred $516.88 in actual costs on Plaintiff’s behalf in

connection with pursuing this lawsuit, all of which is properly taxable. Invoices for such are

attached hereto as Exhibit “1” and separately on Plaintiff’s Bill of Costs.



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Dated: July 28, 2023                         /s/ Daniel DeSouza____
                                             Daniel DeSouza




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Copycat Legal PLLC
3111 N University Drive
Suite 310
Coral Springs, FL 33065
877-437-6228




Prepared Food Photos, Inc.                                                              Balance       $2,414.38
38 Church Street                                                                        Invoice #     00159
Pawtucket, RI 02860                                                                     Invoice Date  July 28, 2023
United States                                                                           Payment Terms
                                                                                        Due Date




Prepared Food Photos, Inc. v.
WaDaYaNeed, LLC d/b/a
WhatDoYouNeed.com



Time Entries
DATE           EE   ACTIVITY      DESCRIPTION                                               RATE     HOURS    LINE TOTAL

10/03/2022     DD   Time          Sent initial infringement notice to defendant            $325.00     0.50      $162.50

11/28/2022     DD   Time          Drafted/updated complaint for filing                     $325.00     0.50      $162.50

11/29/2022     DS   Time          Filed complaint                                          $125.00     0.10       $12.50

11/30/2022     DS   Time          Summons sent to process server                           $125.00     0.10       $12.50

12/13/2022     DS   Time          Sent email to process server re status                   $125.00     0.10       $12.50

                                  Called process server and was told they will check
12/14/2022     DS   Time                                                                   $125.00     0.10       $12.50
                                  with server and provide status.

                                  Spoke with process server who informed he'd be
12/22/2022     DS   Time                                                                   $125.00     0.20       $25.00
                                  providing affidavit of non-serve

                                  Send documents to process server for service on
01/18/2023     DS   Time                                                                   $125.00     0.10       $12.50
                                  the NY SOS

                                  Filed ROS on NY SOS. Mailed letter to defendant
01/26/2023     DS   Time                                                                   $125.00     0.50       $62.50
                                  regarding same.

02/21/2023     DD   Time          Drafted and filed motion for clerk's default             $325.00     0.50      $162.50

02/27/2023     DD   Time          Drafted and filed motion for default final judgment      $325.00     2.50      $812.50

02/27/2023     DS   Time          Certificate of Service filed with the court.             $125.00     0.10       $12.50

                                  Called defendant to confer re motion for attorneys'
07/26/2023     CZ   Time                                                                   $275.00     0.20       $55.00
                                  fees (spoke with employee)

                                  Sent email to defendant to confer re motion for
07/26/2023     CZ   Time                                                                   $275.00     0.20       $55.00
                                  attorneys' fees

07/26/2023     DD   Time          Draft motion for plaintiff's attorneys' fees             $325.00     1.00      $325.00
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                                                                                             Totals:         6.70      $1,897.50


Expenses
DATE          EE   ACTIVITY           DESCRIPTION                                             COST     QUANTITY      LINE TOTAL

                   Complaint Filing
11/29/2022    DS                                                                            $402.00           1.0        $402.00
                   Fee

                                      Preferred Process (Inv.#1524778) - NY Secretary
01/26/2023    DS   Process Server                                                           $114.88           1.0        $114.88
                                      of State

                                                                                                    Expense Total:       $516.88




                                                                            Time Entry Sub-Total:                     $1,897.50
                                                                            Expense Sub-Total:                          $516.88

                                                                            Sub-Total:                                $2,414.38



                                                                            Total:                                    $2,414.38
                                                                            Amount Paid:                                  $0.00


                                                                              BALANCE DUE:                           $2,414.38
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     PREFERRED PROCESS SERVERS INC.
      166-06 24th Road, Whitestone, NY 11357                            Phone 718-362-4890 -- FAX 718-352-0400
                                                                                             info@ppservers.com




                                                 PAID                   Due By: 02/25/2023
                                                                        Invoice Date: 1/26/2023
                                                                        Invoice #: 1524778
          Attn:                                                         Job#: 1524778
          COPYCAT LEGAL                                                 Client File#: prepared vs. wadayaneed
          3111 NORTH UNIVERSITY DRIVE, STE#301
          CORAL SPRINGS, FL 33065                                              TOTAL INVOICE AMOUNT DUE
                                                                                                        $111.00




Job #: 1524778       Your #: prepared vs. wadayaneed      Recipient:                  Date Received:
Plaintiff: PREPARED FOOD PHOTOS INC F/K/A ADLIFE          WADAYANEED LLC D/B/A        1/19/2023
Defendant: WADAYANEED LLC D/B/A WHATDOYOUNEED.COM         Person Served:              Completed:
Index Number 1:22-CV-1270 (LEK/ATB)                       Nancy Dougherty             1/23/2023
Documents: SUMMONS IN CIVIL ACTION - COMPLAINT            SEC OF STATE , ALBANY, NY 12207
Description                                                                      Qty             Fee     Total Fee
 Standard Service                                                                 1           $65.00       $65.00
 Advanced Secretary of State Fee                                                  1           $40.00       $40.00
 COPIES                                                                          40            $0.15        $6.00

                                                                                 Job Total Due =          $111.00



 TOTAL INVOICE CHARGES:                                                                                  $111.00
 TOTAL INVOICE PAYMENTS:
 TOTAL INVOICE AMOUNT DUE:                                                                               $111.00
  Notes

  Terms:




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